           Case 2:21-cv-04490-AB Document 38 Filed 06/14/24 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF PENNSYLVANIA


THE TRUSTEES OF THE UNIVERSITY                 :
OF PENNSYLVANIA,                               :
                                               :
                  Plaintiff,                   : CIVIL ACTION NO. 2:21-cv-04490-AB
                                               :
      v.                                       :
                                               :
                                               :
FACTORY MUTUAL INSURANCE                       :
COMPANY,                                       :
                                               :
                   Defendant.                  :


                                JOINT STATUS REPORT

      Defendant Factory Mutual Insurance Company and Plaintiff The Trustees of the

University of Pennsylvania (collectively, the “Parties”) hereby submit the following Joint

Status Report in accordance with the Court’s December 18, 2023 Order (ECF No. 36).

The Parties previously filed Joint Status Reports on June 14, 2023 and December 15,

2023. See ECF Nos. 33 and 35.

      Since the Parties’ December 15, 2023 Joint Status Report, the Pennsylvania

Supreme Court heard oral argument in Ungarean v. CNA, No. 12 WAP 2023 (Pa.) and

MacMiles, LLC v. Erie Insurance Exchange, No. 10 WAP 2023 (Pa.) on April 10, 2024.

The Pennsylvania Supreme Court has not yet issued an opinion in either case. In

Wilson v. USI Service LLC, et al., 20-3124 (3d Cir.), the U.S. Court of Appeals for the

Third Circuit has not yet ruled on the petition seeking a rehearing en banc.

      Defendant believes the Court should grant its Motion to Dismiss for all of the

reasons previously stated in its briefing papers and because Wilson is controlling and
         Case 2:21-cv-04490-AB Document 38 Filed 06/14/24 Page 2 of 2




dispositive. Plaintiff believes the Court should deny Defendant’s Motion to Dismiss for

the reasons stated in its briefing papers and because Wilson is inapposite.

      In the alternative to ruling on the pending Motion to Dismiss now, to conserve

party and judicial resources, the Court could choose to continue the stay entered by the

Court’s Order dated April 10, 2024, (ECF No. 37) until the Third Circuit rules on the en

banc petition in Wilson.




Dated: June 14, 2024                           Respectfully submitted,

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